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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 CITIZENS FOR RESPONSIBILITY AND
 ETHICS IN WASHINGTON,

                        Plaintiff,
                                                   Case No. 25-cv-511 (CRC)
                        v.

 U.S. DOGE SERVICE, et al.,

                        Defendants.

                                             ORDER

       For the reasons stated in the accompanying Memorandum Opinion, it is hereby

       ORDERED that [2] Plaintiff’s Motion for Preliminary Injunction is GRANTED in part

and DENIED in part; it is further

       ORDERED that CREW’s request for a preliminary injunction directing OMB and USDS

to process the three requests at issue by March 10, 2025, is DENIED; it is further

       ORDERED that CREW’s request for a preliminary injunction requiring expedited

processing of the USDS request is GRANTED; it is further

       ORDERED that OMB and USDS provide an estimate of the volume of responsive records

to CREW’s FOIA requests by March 20, 2025; it is further

       ORDERED that the parties meet and confer regarding a proposed processing and

production timeline and file a joint status report proposing a schedule for expedited processing and

rolling production of responsive records by March 27, 2025; and it is further

       ORDERED that OMB and USDS preserve all records that may be responsive to CREW’s

FOIA requests.
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      SO ORDERED.




                                              CHRISTOPHER R. COOPER
                                              United States District Judge

Date: March 10, 2025




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